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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

IN RE: AME CHURCH EMPLOYEE                      )
                                                )     MDL DOCKET NO.
RETIREMENT FUND LITIGATION
                                                )
                                                )     1:22-md-03035-STA-jay
                                                )
                                                )    This Document Relates to Member Cases:
                                                )     2:22-cv-2136-STA-jay
                                                      2:22-cv-2174-STA-jay


         UNOPPOSED MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL
                  FOR DEFENDANT NEWPORT GROUP, INC.



        Defendant Newport Group, Inc. (“Newport”), by and through undersigned counsel,

respectfully moves the Court for an order permitting James O. Fleckner and DeMario M.

Carswell of Goodwin Procter, LLP, to withdraw as attorneys of record for Newport and

substituting in their place Sean Abouchedid and Lars Golumbic of Groom Law Group as

attorneys of record for Defendants in this matter going forward, including in member cases

Docket Nos. 2:22-cv-2136-STA-jay and 2:22-cv-2174-STA-jay.             Mr. Abouchedid and Mr.

Golumbic have entered notices of appearance in the lead MDL, Docket No. 1:22-md-3035-STA-

jay. Local counsel of record of Burch, Porter & Johnson, PLLC, will remain unchanged.

Newport will not be prejudiced by the withdrawal and substitution, nor will the instant litigation

be delayed.


                                             Respectfully submitted,

                                             /s/ Tannera George Gibson
                                             BURCH, PORTER & JOHNSON, PLLC
                                             Tannera George Gibson (TN #27779)
                                             Melisa Moore (TN #28709)


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                                CERTIFICATE OF SERVICE

         I hereby certify that on August 2, 2022 I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will operate to provide notice of this filing to all
counsel of record in this case; and certify that paper copies of the foregoing shall be served by
first class mail postage prepaid on all counsel who are not served through the CM/ECF system.

                                                             /s/ Tannera George Gibson


                            CERTIFICATE OF CONSULTATION

       The undersigned hereby certifies that on July 22, 2022, Sean Abouchedid consulted with
counsel for Plaintiffs, who stated no objection to the relief requested herein.

                                                             /s/ Tannera George Gibson




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